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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



     _________________________________      )
Epsilon Energy USA, Inc.
     _________________________________      )
     _________________________________      )
     _________________________________      )
     _________________________________,     )
                                            )
                  Plaintiff(s),             )
                                            )
           v.                               )
                                            )
     _________________________________      )                        3:22-cv-00679-JFS
                                                    Civil Action No. ________________
Chesapeake Appalachia, LLC
     _________________________________      )
     _________________________________      )
     _________________________________      )
     _________________________________, )
                                            )
                  Defendant(s)/             )
                  Third-Party Plaintiff(s), )
                                            )
           v.                               )
                                            )
     _________________________________      )
     _________________________________      )
     _________________________________      )
     _________________________________      )
     _________________________________, )
                                            )
                  Third-Party Defendant(s). )
     ____________________________________)

                DISCLOSURE STATEMENT PURSUANT TO Fed. R. Civ. P. 7.1
                                 (Civil Action)

           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff
                                                                         ____________________,
                                                                          (type of party)
           Epsilon Energy USA, Inc.
    who is ________________________________________, makes the following disclosure:
                  (name of party)




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1.     Is the party a non-governmental corporate party?
                                     YES
                                    ✔                NO

2.     If the answer to Number 1 is “yes,” list below any parent corporation or state that there
       is no such corporation:
Epsilon Energy Ltd.
________________________________________________________________________

________________________________________________________________________

________________________________________________________________________



3.     If the answer to Number 1 is “yes,” list below any publicly-held corporation that owns
       10% or more of the party’s stock or state that there is no such corporation:
       ________________________________________________________________________
Epsilon Energy Ltd.
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________

        The undersigned party understands that under Rule 7.1 of the Federal Rules of Civil
Procedure, it must promptly file a supplemental statement upon any change in the information that
this statement requires.


                                                    /s/ Gregory J. Krock
                                                    __________________________________
                                                    Signature of Counsel for Party

      May 19, 2022
Date: ___________________




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